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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION


 MATTHEW THOMAS HOUFF,                            4:22-CV-04070-KES

                     Petitioner,                GOVERNMENT’S MOTION
                                               TO DISMISS PETITIONER’S
 vs.                                           MOTION TO VACATE, SET
                                            ASIDE, OR CORRECT SENTENCE
 UNITED STATES OF AMERICA,

                     Respondent.


       The United States of America, by and through Assistant United States

Attorney Eric Kelderman, pursuant to Rule 12 of the Rules for Section 2255

Proceedings and Federal Rules of Civil Procedure 12(b)(6), files this Motion to

Dismiss Petitioner’s Motion to Vacate, Set Aside, or Correct a Sentence by a

Person in Federal Custody Pursuant to 28 U.S.C. § 2255. Petitioner has failed

to state a claim for relief.

       Accordingly, the United States of America requests that the Petitioner’s

motion for § 2255 relief be dismissed.

       Dated and electronically filed September 28, 2022.

                                           ALISON J. RAMSDELL
                                           United States Attorney

                                           /s/ Eric Kelderman
                                           ________________________________
                                           ERIC KELDERMAN
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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 28, 2022, a true and

correct copy of the Government’s Motion to Dismiss Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence was served upon petitioner by placing the same

in U.S. first-class mail, addressed as follows:

      Matthew Houff
      #79393-112
      Three Rivers FCI
      Inmate Mail/Parcels
      P.O. Box 4200
      Three Rivers, TX 78071

      Dated and electronically filed September 28, 2022.

                                      ALISON J. RAMSDELL
                                      United States Attorney

                                      /s/ Eric Kelderman
                                      ERIC KELDERMAN
                                      Assistant United States Attorney
                                      515 Ninth Street, Room 201
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